                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 IN RE:
                                                        Case No.: 22-12523
    Lucas Allen Hester
                                                        Chapter 7
 Debtor.


 LUCAS ALLEN HESTER,

       PLAINTIFF,

 VS.                                                    Adversary Case No.: 23-1002-HAC

 U.S. DEPARTMENT OF EDUCATION,

       DEFENDANT.


              UNOPPOSED MOTION TO CONTINUE ANSWER DEADLINE


       COMES NOW the Plaintiff and respectfully requests that the Court continue the deadline

for the Defendant to answer or otherwise respond by May 26, 2023, and reschedule the scheduling

conference presently scheduled for June 13, 2023. As grounds, Plaintiffs submit the following:

       1.      Since the Defendant’s previous motion to continue the answer deadline in this case

[Doc. 10], the Defendant has provided account information to the Plaintiff. The Plaintiff is working

to prepare the attestation necessary for Defendant and the undersigned to make a determination

whether to enter into a stipulation regarding the dischargeability of the subject student loans.

       2.      The gathering of this information and working with the Plaintiff can take a

significant amount of time. To allow additional time to prepare our attestation and for the parties

to determine whether this case qualifies for a possible stipulated proposal to the Court, the Plaintiff

respectfully requests that the current deadline to answer or otherwise respond be extended to July




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14, 2023.

       3.        Additionally, the Court has presently set a scheduling conference for June 13, 2023.

[Doc. 12]. Should the Court grant the requested extension, the Plaintiff further requests that the

Court reschedule the scheduling conference to the next date convenient to the Court after the

extended deadline of July 14, 2023.

       4.        The undersigned contacted Defendant’s counsel who does not oppose this request

for extension.

       5.        No party will be prejudiced by such an extension.

       6.        Based on the foregoing, the Plaintiff respectfully requests the Court continue the

deadline to answer or otherwise respond to July 14, 2023.


                                               Respectfully Submitted,

                                               /s/ James D. Patterson
                                               JAMES D. PATTERSON (PATTJ6485)
                                               JAMES PATTERSON LLC
                                               Attorney for Plaintiff
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                                               Mobile, Alabama 36606
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                                               E-mail: jdp@jamespattersonlaw.com

                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 26, 2023, the foregoing was electronically filed with the
Clerk of the Court using CM/ECF system which will send notification of such filing to all
counsel of record.

                                               /s/ James D. Patterson
                                               JAMES D. PATTERSON




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